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UNITED STATES DISTRICT COURT \) Al |

SOUTHERN DISTRICT OF NEW YORK

 

RACANELLI CONSTRUCTION CO., INC., 1 BC O42 rer
i key € !
Plaintiff,
- against - NOTICE OF REMQYA&E COTE
RACANELLI CONSTRUCTION GROUP, INC. _ : Case No.:
and RICHARD XIA, :;
Defendants. :
».4

 

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441(a) and 1446, the .
above-captioned action is removed by Defendants Racanelli Construction Group, Inc. and
Richard Xia (“Defendants”) from the Supreme Court of the State of New York, County
of Suffolk, to the United States District Court for the Southern District of New York, by.
the filing of this Notice of Removal with the Clerk of the United States District Court for
the Southern District of New York.

Defendants, by and through their undersigned attorneys, respectfully state the
following as grounds for removal of this action:

1. This action may be removed to this Court by Defendants pursuant to the
provisions of 28 U.S.C. §§ 1441 and 1446.

2. On April 29, 2015, Plaintiff filed an action in the Supreme Court of the
State of New York, County of New York, entitled Racanelli Construction Co., Inc. v.
Racanelli Construction Group Inc. and Richard Xia, Index No. 604507/2015 (the “State

Court Action”).
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3. In its Complaint, in the State Court Action, Plaintiff attempts to state

causes of action for violation of Section 43(a), 15 U.S.C. § 1125(a), of the Lanham Act

(First Cause of Action).
4. Plaintiff seeks, among other relief, attorneys’ fees, costs and expenses.
5. This action is removable pursuant to the provisions of 28 U.S.C. §

1441 because it is a civil action over which this Court has original jurisdiction under 28
U.S.C. § 1331, in that the Complaint alleges violations of the Lanham Act, 15 U.S.C. §
1125(a).

6. This Court may exercise supplemental jurisdiction over the additional
state law claims under 28 U.S.C. § 1367.

te Consequently, this action is removable to federal court because there is
federal jurisdiction under 28 U.S.C. § 1331.

8. Copies of the Summons and Complaint in the State Court Action - which
are the only “process, pleadings and orders” served upon Defendants in the State Court
Action, see 28 U.S.C, § 1446(a) are attached herein as Exhibit A.

9. This Notice of Removal is filed within thirty days after the Summons and
Complaint in the State Court Action were served on any of the Defendants and therefore
is timely filed pursuant to 28 U.S.C. § 1446(b). Plaintiff's affidavits of service are
attached herein as Exhibit B.

10. Written Notice of the filing of this notice will be given to Plaintiff and
together with a copy of the Notice of Removal, will be filed with the Clerk of the
Supreme Court of the State of New York, County of Suffolk, as provided by 28 U.S.C. §

1446(d).
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WHEREFORE, Defendants Racanelli Construction Group, Inc. and Richard Xia,
remove the State Court Action from the Supreme Court of the State of New York, County
of Suffolk, to this Court, and pray that this Court take jurisdiction of this civil action to
the exclusion of any further proceedings in said state court.

Dated: June 3, 2015 Yours, etc.
New York, New York
MICHAEL J. KAPIN, P.C.
) ‘neys far Defendants

Ny .0/] Vig

By: MICHAEL J. KaPINn, Esg/( Mic 125 u)
305 Broadway, Suite 1004

New York, NY 10007

(212) 513-0500

 

To:

FORCHELLI, CURTO, DEEGAN,
SCHWARTZ, MIENO & TERRANA, LLP
Joseph P. Asselta, Esq.

333 Earle Ovington Blvd., Suite 1010
Uniondale, NY 11553
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EXHIBIT A
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(FILED: SUFFOLK COUNTY CLERK 04/29/2015 09:34 AM INDEX NO. 604507/2015
NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 04/29/2015

 

SUPREME COURT OF THE STATE OF NEW YORK

 

 

COUNTY OF SUFFOLK.
x
RACANELLI CONSTRUCTION CO.,, INC., Index No.
Date Purchased:
Plaintiff,
SUMMONS
- against -
Plaintiff designates Suffolk
RACANELLI CONSTRUCTION GROUP INC. and County as the place of trial.
RICHARD XIA,
The basis of venue is the
Defendants, residence of the Plaintiff.
Xx

To the above-named Defendants:

YOU ARE HEREBY SUMMONED to answer the verified complaint in this action and
to serve a copy of your answer, or if the complaint is not served with this summons, to serve a
notice of appearance on plaintiff's attorneys within 20 days after the service of this summons,
exclusive of the day of service (or within 30 days after the service is complete if this summons is
not personally delivered to you within the State of New York); and in case of your failure to

appear or answer, judgment will be taken against you by default for the relief demanded in the
complaint.

Dated: Uniondale, New York
April 28, 2015

Joseph P/ Asselta, Esq.

FORCHELLI, CURTO, DEEGAN,
SCHWARTZ, MINEO & TERRANA, LLP
Attorneys for Plaintiff,

Racanelli Construction Co., Inc.

333 Earle Ovington Blvd., Suite 1010
Uniondale, NY 11553

(516) 248-1700

Defendants’ Addresses:

RACANELLI CONSTRUCTION GROUP INC.
155 Sandal Wood Avenue,
Hamilton, NJ 08619

RICHARD XIA
155 Sandal Wood Avenue,
Hamilton, NJ 08619
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SUPREME COURT OF THE STATE OF NEW YORK

 

 

COUNTY OF SUFFOLK
RACANELLI CONSTRUCTION CO, INC., * Index No.

Plaintiff, VERIFIED COMPLAINT

- against -

RACANELLI CONSTRUCTION GROUP INC.,
and RICHARD XIA,

Defendants.

xX

Plaintiff, Racanelli Construction Co., Inc., by its attorneys, Forchelli, Curto, Deegan,
Schwartz, Mineo & Terrana, LLP, as and for its verified complaint, alleges as follows:

1, At all times hereinafter mentioned, plaintiff, Racanelli Construction Co., Inc.
(“Racanelli”), was and is a domestic corporation organized and existing under the laws of the
State of New York since December 23, 1992, with its principal place of business located 1895
Walt Whitman Road, Suite 1, Melville, NY 11747.

2. | Upon information and belief, defendant, Racanelli Construction Group Inc.
(“RCG”), is a domestic corporation duly organized and existing under the laws of the State of
New York since June 21, 2011, with a place of business located at 155 Sandal Wood Avenue,
Hamilton, New Jersey 08619,

3, Upon information and belief, defendant, Richard Xia (“Xia”), was and is the
President of RCG (RCG and Xia shall be referred to collectively as, the “Defendants”.)

BACKGROUND

4, Racanelli is a third generation family-owned entity that has been conducting

business under the trade name of Racanelli Construction Co., Inc. for approximately twenty-
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three (23) years.

Dy Racanelli is engaged in the business of commercial development, general
construction and construction management and conducts extensive business in Long Island, the
City of New York and State of New Jersey.

6. Prior to Racanelli’s incorporation in 1992, the Racanelli family had been
developing construction projects on Long Island for nearly sixty (60) years.

7. Needless to say, the business established by Racanelli has been and now is well-
known and extensive, with loyal customers throughout Suffolk and Nassau Counties, the City of
New York and the State of New Jersey.

8. The services offered by Racanelli have been and are well and favorably known
throughout Suffolk and Nassau Counties, the City of New York and the State of New Jersey, and
Racanelli has expended substantial resources to advertise, solicit, and promote its business,
including, inter alia, internet marketing and publications in industry and trade journals and
literature, and has built up substantial good will and reputation.

9.  Racanelli is and has long been one of the most prestigious construction companies
on Long Island and has developed over 1,250 acres of property, constructed over 300 buildings,
occupying in excess of thirteen (13) million square feet.

10. Based upon Racanelli’s extraordinary name recognition, reputation and services,
owners, developers, contractors, subcontractors and suppliers have recognized the excellent
quality and construction services provided by Racanelli.

11, By reason of the matters set forth herein, Racanelli’s trade name has become
valuable, well and favorably known to the trade, industry and the public, and said name has
become the means by which Racanelli’s services are identified by the trade, industry and public

and distinguished from the business services, and goods of others, and the name Racanelli has
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come to symbolize valuable good will which Racanelli enjoys.

12. Since 1992, Racanelli has been actively conducting business under the trade name
Racanelli Construction Co., Inc., including, but not limited to, the open display, use and
publication of its trade name in all business signs, signs, stationery and advertising, including,
inter alia, internet marketing, and literature in connection with the construction services offered
to the general public.

13. The Defendants recently, but at precise times unknown to Racanelli, have
improperly assumed, utilized, displayed, and disseminated Racanelli’s protected trade name.

14.  Onor about June 21, 2011, Defendants registered the entity Racanelli
Construction Group Inc. with the New York State Secretary of State.

15. Upon information and belief, the Defendants also engage in the business of
commercial general construction and construction management in the City of New York, State of
New Jersey and Long Island region and conduct business that is substantially the same as
Racanelli.

16. Upon information and belief, the Defendants recently, but at precise times
unknown to Racanelli, began to display, advertise promote, and sell its construction services
using the name “Racanelli Construction”. Specifically, Defendants have infringed upon
Racanelli's right to the sole and exclusive use of the name Racanelli Construction by, inter alia:

a) Publicly using, advertising, and promoting the name "Racanelli Construction"
in and on its posted signs, billboards, bids, solicitations and other openly
displayed messages; and

b) Publicly using, advertising, and promoting the name "Racanelli Construction"
in its promotional advertising, internet marketing, and announcements,

including, but not limited to bids, solicitations, correspondence and literature;
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and

c) Openly using, advertising, and promoting the name "Racanelli Construction"
in its corporate documents, literature, letterhead, telephone listings, brochures,
and other mediums of public dissemination; and

d) Placing or causing to be placed, advertisements in various widely circulated
and widely read newspapers, bulletins, journals, newsletters, industry
publications, magazines, and flyers using the name “Racanelli Construction”
in conjunction with its business sold to the general public in a form employed
by the Racanelli for many years.

AS AND FOR A FIRST CAUSE OF ACTION
(infringement of Plaintiffs' Protected Trade Name
and Mark in Violation of §43(a) of the Lanham Act)

17. Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.

18. Since in or before 1992, Racanelli has been actively conducting business with
the trade name “Racanelli Construction Co., Inc.” including, but not limited to, the open
display, use, and publication of the protected Racanelli Construction Co., Inc. mark in all
business signs, stationery, advertising, bids, solicitations and correspondence including, inter
alia, internet marketing, industry and trade journals and literature in connection with its
construction projects and related services sold to the general public.

19. Since in or before 1992, Racanelli has used the distinctive name and mark of
Racanelli Construction Co., Inc. and Racanelli continues to use it, which is characteristic of its
existence and purposes.

20. Racanelli’s name, “Racanelli Construction Co., Inc.” has been extensively used

over the decades, the same being reflected in all corporate data as aforesaid, all of which has
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been definitely associated in the minds of the public with Racanelli’s purposes, and which has
become recognized and well-known throughout Long Island, the City of New York and the

State of New Jersey.

21. By reason of Racanelli’s use of said trade name and mark, said trade name
and mark has become and are now well and favorably known throughout Long Island, the City
of New York and New Jersey, as identifying Racanelli. Racanelli has built up an extensive
business by reason of the good will and reputation attaching thereto, and has acquired common
law trademark rights therein, and the exclusive right to the use thereof.

22. Racanelli has continually expended substantial sums of money in
advertising, promoting, solicitations, bids, publicizing and broadcasting, including, inter alia,
internet marketing the name Racanelli Construction Co., Inc. as representing Racanelli’s
corporate business, products, and services. Racanelli advertises, solicits and conducts business

| regularly in Long Island, the City of New York and New Jersey, and has for many years
openly and actively promoted its trade name and mark.

23. The name Racanelli Construction when commonly used in the limited field in
which the Racanelli and, upon information and belief, the Defendants are active in business of
general construction and construction management services offered to the general public, has
acquired a secondary meaning as signifying Racanelli and none other.

24. Racanelli has achieved and sustained significant and substantial success
operating as and under the trade name and mark of Racanelli Construction Co., Inc.

25. Racanelli has operated and conducted business exclusively under the trade
name and mark of Racanelli Construction Co., Inc.

26. The Defendants’ use and misappropriation of Racanelli’s trade name and
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mark does not distinguish the services offered and businesses operated by the Defendants from
those that are offered and operated by Racanelli.

27. The fields of principal operation of the Defendants and Racanelli are
identical and/or substantially similar.

28. That the name selected by Defendants, to wit: Racanelli Construction Group
Inc. and the adoption and use by the Defendants of the word “Racanelli Construction” in its
corporate name, has misled and will continue to mislead the public, which has identified and
will continue to identify the business of the Defendants as the activities of Racanelli, and more
particularly will mislead, confuse and deceive those patrons of Racanelli who are or intend to
become patrons to Racanelli, all of which constitutes an unfair and unlawful competition as
against Racanelli.

29. Upon information and belief, that at the time of the incorporation of RCG, the
Defendants were aware of and knew or should have known the fact that Racanelli had
theretofore and was continuing in and conducting the business hereinbefore mentioned under
the name of “Racanelli Construction Co., Inc.” and that the said name, mark and identification
have been known to the public as Racanelli in connection with and to identify their business
name it presently uses.

30. To date, large numbers of the general public and professionals involved in the
construction industry have been confused and deceived by the said wrongful acts of the
Defendants into the belief that said Defendants’ business is a part of or authorized by Racanelli
and that the services to be rendered to such public would be of an identical quality in
conformity with Racanelli’s reputation and good will.

31. Defendants’ activities described heretofore have caused and will continue to

cause its business to be mistaken for the business, services, and good will of Racanelli, have
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caused and will continue to cause confusion between Racanelli’s business, services, and good
will and those of the Defendants, and have misled and will mislead the trade and the public
into the false belief that Racanelli and Defendants are affiliated or that Defendants’ business
and services have their source in Racanelli or are sponsored by Racanelli or are associated
with Racanelli in the course of trade.

32. That Defendants’ use of the name "Racanelli Construction" occurred and is
occurring without the consent, authority, or permission of Racanelli, and constitutes the
unlawful use by the Defendants in commerce of Racanelli’s said name and mark “Racanelli
Construction Co., Inc,” or colorable imitations thereof, in connection with Racanelli’s
business,

33. Racanelli has demanded that Defendants cease and desist from its misuse of
Racanelli’s name and mark or any colorable imitations thereof, in connection with Defendants’
business and the Defendants has refused and/or failed to comply with said demand.

34, By reason of the foregoing Racanelli has suffered significant damages not
fully measureable in monetary terms and will continue to suffer such irreparable damage.

35. As aresult, Racanelli is entitled to an Order enjoining the Defendants’

continued and wrongfully use of Racanelli’s trade name and mark.

AS AND FOR A SECOND CAUSE OF ACTION
(Injury Business Reputation and Dilution in
Violation of, inter alia, General Business §360-L)

36. Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.
37. Racanelli has and will continue to lose control over the reputation and good will

of its distinctive trade name and mark as a direct result of Defendants’ wrongful acts.
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38. Defendants’ aforesaid acts are likely to injure the business reputation of
Racanelli and dilute the distinctive quality of Racanelli’s trade name and mark in violation of
New York General Business Law § 360-L or other applicable laws.

39. Racanelli is being significantly damaged by Defendants’ wrongful use of
Racanelli’s name and intellectual property and, unless Defendants are restrained by the Court,
Racanelli will continue to be irreparably damaged with no adequate remedy at law.

40. By reason of the foregoing Racanelli has suffered significant damage not fully
measurable in money terms and will continue to suffer such irreparable damage

41. Asaresult, Racanelli is entitled to an Order enjoining the Defendants’

continued and wrongfully use of Racanelli’s trade name and mark.

AS AND FOR A THIRD CAUSE OF ACTION
(Unfair Business Competition)

42. Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.

43, Racanelli’s protected trade name "Racanelli Construction Co., Inc.” was
adopted by Racanelli in or about at least 1992, and since that time has been in. continuous use
by Racanelli.

44. Said trade name and mark is and has been used by Racanelli on a large variety
of different representative, promotional, and advertising articles and products, including, inter
alia, internet marketing and trade and industry journals and publications and have identified
and now identify Racanelli and its business at the exclusion of all others.

45. Racanelli has acquired a unique reputation which has become well known to
the general public and trade as being of the very highest quality and dependability. Racanelli

has also acquired an enviable reputation amongst the general public and trade for substantial

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and sound values and service to their customers. Racanelli is unique in the position of
eminence they have attained and are considered by the public as an institution, their name
synonymous with excellence and highest quality.

46. Despite Racanelli’s extensive use, promotion and continuation of its trade name
and mark as herein alleged, Defendants, upon information and belief, adopted such trade name
and mark in commerce with full knowledge of the public’s acceptance of the fact that
Racanelli Construction Co., Inc. is the trade name and mark in commerce of Racanelli, its
business and services, and that said trade name and mark is associated with in the public mind
with Racanelli and its business, and with full knowledge of the rights of Racanelli in and to
said name and without any commercial necessity, legitimate reason or satisfactory explanation
for such action.

47. Upon information and belief, the use of the words "Racanelli Construction" by
the Defendants is for the purpose of taking advantage of the reputation and the good will of
Racanelli gained by the sustained excellence and character of Racanelli’s services, and is for
the purpose of deceiving, misleading, and confusing the public and leading those with whom
the Defendants may deal, that Racanelli is in some way connected or affiliated with the
Defendants and/or their services.

48. Defendants have in the past, and continue to, infringe upon Racanelli’s right to
the sole and exclusive use of the name "Racanelli Construction" and Defendants’ use of said
name constitutes unfair competition and has created, and continues to create, a likelihood of
confusion and deception on the part of the general public, and has led and continues to lead the
public mistakenly to believe that the Defendants’ business and services are in some way
associated with Racanelli, that the Defendants’ business and products are advertised,

distributed, and sold under Racanelli’s sponsorship and authority.

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49. Defendants thereby have traded and are now trading upon the good will created
by the Racanelli, have infringed and are now infringing Racanelli’s trade name and its service
and/or trade mark, and have competed and are competing unfairly with Racanelli, all to
Racanelli’s detriment and damage.

50. Such use has caused and is causing confusion and mistake and to deceive
customers constitutes unfair competition and infringement of Racanelli’s aforesaid trade name
and mark in violation of the laws of the State of New York.

51. The business of Racanelli has been and is being injured, diminished, and
damaged by reason of the loss of good will, diminution of business reputation, dilution of the
distinctive quality of their said name and mark, and expense incurred in efforts to distinguish
the Racanelli’s business, products and services from those of the Defendants, all caused by the
aforesaid use by Defendants of Racanelli’s trade name and mark and the above-mentioned acts
of infringement and unfair competition.

52. By reason of these facts and circumstance aforementioned, Racanelli has been
and is now and hereafter hindered and unlawfully interfered with by the Defendants’ use of the
words "Racanelli Construction” and will be damaged by the diversion of their customers and
trade name and that Racanelli will suffer great and irreparable loss and damage in money, good
will and reputation.

53. By reason of the foregoing, Defendants are causing and will continue to cause
Racanelli irreparable damage unless restrained.

24, Racanelli has no adequate remedy at law and its damages cannot be adequately

compensated in money alone.

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55. Asaresult, Racanelli is entitled to an Order enjoining the Defendants’ continued
and wrongfully use of Racanelli’s trade name and mark, as well as damages in a sum to be

determined at trial.

AS AND FOR A FOURTH CAUSE OF ACTION
(Use of Plaintiffs' Name With Intent to Deceive
in Violation of General Business Law §133)

56.  Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.

57.  Racanelli’s protected trade name was adopted by Racanelli in or about at least
1992, and since that time has been in continuous use by Racanelli.

58. | Upon information and belief, the name selected by Defendants, to wit: Racanelli
Construction Group Inc. and the adoption and use by the Defendants of the word “Racanelli
Construction” in its corporate name, was selected with the intent to deceive the public and
buyers and sellers in the field of their principal operations in order that Defendants be enabled to
capitalize on the reputation and substantial good will created and owned by Racanelli,

59. The words “Racanelli Construction” were inserted into the name of the
Defendants for the purpose of deceiving, misleading, and imposing upon and confusing the
customers and patrons of Racanelli and the public in general, and to obtain the benefit of
Racanelli’s trade, good will, and advertising and to induce the public to believe that the
Defendants is in some way connected or affiliated with Racanelli.

60. To date, large numbers of the general public and professionals involved in the
construction industry have been confused and deceived by the said wrongful acts of Defendants
into the belief that said Defendants’ business is a part of or authorized by Racanelli and that the

services to be rendered to such public would be of a superior quality in conformity with

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Racanelli’s reputation and good will.

61. Prior to the commencement of this action, Racanelli made due demand upon the
Defendants to cease such unlawful acts and desist from the use of said name “Racanelli
Construction” as part of their corporate title, but Defendants has refused to do so, and now is
continuing such use and threatens to do so in the future, as Racanelli is informed and verily
believe.

62.  Racanelli has no adequate remedy at law and its damages cannot be adequately
compensated in money alone.

63.  Asaresult, Racanelli is entitled to an Order enjoining the Defendants’ continued
and wrongfully use of Racanelli’s trade name and mark, as well as damages in a sum to be
determined at trial.

AS AND FOR A FIFTH CAUSE OF ACTION

(Infringement of Plaintiffs' Name With Intent to Deceive
in Violation of Business Corporation Law §301)

64. —_Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.

65, Prior to the commencement of this action, Racanelli made due demand upon the
Defendants to cease such unlawful acts and desist from the use of said name “Racanelli
Construction” as part of their corporate title, but Defendants have refused to do so, and now are
continuing such use and threaten to do so in the future.

66.  Racanelli has no adequate remedy at law and its damages cannot be adequately
compensated in money.

67. Asaresult, Racanelli is entitled to an Order enjoining the Defendants’ continued

and wrongfully use of Racanelli’s trade name and mark, as well as damages in a sum to be

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determined at trial.

AS AND FOR A SIXTH CAUSE OF ACTION
(Misappropriation and Misrepresentation Under New York Common Law)

68.  Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.

69. Defendants have illegally and without authorization misappropriated the
trademark, trade name, reputation and distinctive identity of Racanelli by having engaged in
business with the public under the trademark belonging exclusively to Racanelli.

70. This misappropriation on the part of the Defendants is in clear violation of the
widely-recognized rule in the State of New York". . . that the effort to profit from the... name
and reputation of others. . ." constitutes unfair competition. Opera Ass'n v. Wagner-Nichols
Recorder Corp., 199 Misc. 786, 101 NYS 2d. 483, (1950) aff'd 279 AD 632, 107 NYS 2d. 795.

71. As Racanelli has expended substantial sums in obtaining and protecting their
trademark, trade name, reputation and distinctive identity as well as in the establishment of their
trademark with the public and since the Defendants willfully and without any authority from
Racanelli appropriated and traded under the trademark belonging to Racanelli, and the
Defendants have provided services to the public in competition with Racanelli to the direct
injury of Racanelli, they are in violation of the common law of the State of New York.

72.  Asaresult of the foregoing, Racanelli has been damaged by the Defendants’ acts
in an amount to be determined at trial.

AS AND FOR A SEVENTH CAUSE OF ACTION
(Violation of General Business Law § 349)

73.  Racanelli repeats and realleges each and every allegation contained in the
foregoing paragraphs as though more fully set forth at length herein.

74. The Defendants’ use and appropriation of plaintiffs trade name and mark,
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constitutes deceptive acts conduct and practices that are aimed at consumers and the public at
large.

75. Such deceptive acts, conduct and practices were and are designed and intended
to, and did in fact, mislead consumers into the mistaken and erroneous belief that the services
offered and the businesses operated by the Defendants, were connected with and/or related to
and/or the same, as the services offered and the businesses operated by Racanelli, so that such
consumers would transact business with the Defendants rather than with Racanelli.

76.  Asaresult of such deceptive acts, conduct and practices, Racanelli has been
injured and damaged in an amount to be determine upon the trial of this action.

77. As aresult of the foregoing, Racanelli also entitled to recover treble damages and
their attorney's fees pursuant to § 349(h) of the General Business Law.

WHEREFORE, the plaintiff, Racanelli Construction Co., Inc., demands judgment

against defendants, Racanelli Construction Group Inc, and Richard Xia, as follows:

1) that the Defendants, and their agents, servants, employees, and all persons
acting under their authority or control, and each of them be forever and perpetually
restrained, stayed, prohibited, and enjoined from using the words or phrase "Racanelli
Construction" as part of their corporate names or in connection with its business either
alone or in conjunction with other words, or any similar name or variation thereof in any
way in connection with their businesses, including any advertisements, signs, notices,
bids, solicitations or written matter serving to identify their businesses, products or
services, and from using any name or word which may be calculated to cause Racanelli
to be identified as being in some way as associated with their businesses; and

2) that the Defendants and their agents, servants, and employees be required

to obliterate, delete, and remove the said corporate name and the word or phrase
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“Racanelli Construction” contained herein from the business offices, stationery, listings,
telephone books, signs, advertising, including, inter alia, internet marketing and
whosesoever else the same may appear in connection with the said business; and

3) that the Defendants and their agents, servants, and employees be forever
restrained from in any manner making representations likely or tending to lead the public
into the belief that the business being conducted by the Defendants is the business of
Racanelli or is in any way affiliated or connected therewith; and

4) damages in a sum to be determined at the trial of this action, that will
compensate Racanelli for the damages caused to them by reason of Defendants’
misappropriation of Racanelli’s trademark, trade name, reputation and distinctive
identity; and

5) damages in a sum to be determined at the trial of this action, that will
compensate Racanelli for the damages caused to them by reason of Defendants’
deceptive trade practices, together with treble damages and attorney's fees pursuant to
General Business Law § 349(h); and

6) for such other and further relief as to this Court may seem just and proper,

together with a attorney's fees and the costs and disbursements of this action.

>)
J oseph Asselta, Esq.
E

FOR@HELLI, CURTO, DEEGAN,
SCHWARTZ, MINEO & TERRANA, LLP
Attorneys for Plaintiff,

Racanelli Construction Co., Inc.

333 Earle Ovington Blvd., Suite 1010
Uniondale, NY 11553

(516) 248-1700

Dated: Uniondale, NY
April 28, 2015

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Case 1:15-cv-04279-DLC Document1 Filed 06/03/15 Page 21 of 28

STATE OF NEW YORK)
) ss:
COUNTY OF NASSAU )

Joseph P. Asselta, being duly sworn, deposes and says: that I am a member of the law
firm of Forchelli, Curto, Deegan, Schwartz, Mineo & Terrana, LLP, attorneys for Racanelli
Construction Co., Inc,, the plaintiff in the within action; that I have read and know the contents
of the foregoing complaint; and that the same is true to my own knowledge, except as to those
matters therein stated to be alleged upon information and belief; and as to those matters, I believe
them to be true.

That the reason this verification is made by deponent and not by plaintiff, is that plaintiff
is a corporation having offices in a county other than where deponent maintains his offices. The
grounds of deponent's belief as to all matters not stated upon deponent's knowledge are: The
files and records relating to the subject matter of this action received from plaintiff.

veem, Me te
a Asselta

Swom to before me this
2p" day of April, 2015

    
 

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Case 1:15-cv-04279-DLC Document 1 Filed 06/03/15 Page 22 of 28

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“SUPREME COURT OF THE STATE OF rNEW YORK ethan pe ee
COUNTY | OF SUFFOLK oid gue Egat

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is hereby admitted.

 

 

 

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| | Schwartz, Mineo ne Terrana, LLP
“2 By The: Omni

7 433 ‘Earle éinstni Boulevard, Suite 1010. :
Tintandale New Vavle 11869 °°.
Case 1:15-cv-04279-DLC Document 1 Filed 06/03/15 Page 23 of 28

EXHIBIT B
5 Pagerkée@fws 604507/2015
NYSCEF DOC. NO. 2 RECEIVED NYSCEF: 05/21/2015

 

 

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF SUFFOLK
RACANELLI CONSTRUCTION, CO., INC. Index No. 604507/2015
Plaintifi(s),
-against-

RACANELLI CONSTRUCTION GROUP,
INC. and RICHARD XIA, AFFIDAVIT OF SERVICE .

Defendant(s).
Xx

 

STATE OF NEW YORK)
8.8 °
COUNTY OF NEW YORK. )

MICHAEL KEATING, being duly sworn, deposes and says that deponent is an
employee of KEATING & WALKER ATTORNEY SERVICE, INC., is over the age of
eighteen years and is not a party to the action.

That on the 15th day of May, 2015, at approximately 1 1:23 a.m., deponent served a true
copy of the Summons (endorsed with the index number and date of filing); Verified
Complaint and Notice Regarding Availability of Commencement of Electronic Filing
Supreme Court Cases upon Racanelli Construction Group, Inc. at 136-20 38th Avenue, Suite
10-F, Flushing, New York 11354-4263 by personally delivering and leaving the same with Sara
Pan, who stated that she is authorized to accept service.

Sara Pan is an olive-skinned Asian female, approximately 25-30 years of age, is
approximately 5 feet and 5 inches tall, weighs approximately 110 pounds, with long black hair
and brown eyes.

    

Sworn to before me this
19th day of May, 2015

Gf G——_

NEIL P. PEDERSEN

Notary Public, State of New York

No. 01-PE-6236258

Qualified in New York County
Commission Expires February 28, 2019

 

MICHAEL KEATING #848345
Case 1:15-cv-04279-DLC Document 1 Filed 06/03/15 Page 25 of 28

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF SUFFOLK
RACANELLI CONSTRUCTION, CO., me Index No. 604507/2015
Plaintiff(s),
-against-

RACANELLI CONSTRUCTION GROUP,
INC. and RICHARD XIA, AFFIDAVIT OF SERVICE

Defendant(s).
x

 

STATE OF NEW YORK)
S.S :

COUNTY OF NEW YORK )

MICHAEL KEATING, being duly sworn, deposes and says that deponent is an
employee of KEATING & WALKER ATTORNEY SERVICE, INC., is over the age of
eighteen years and is not a party to the action.

That on the 15th day of May, 2015, at approximately 11:23 a.m., deponent served a true
copy of the Summons (endorsed with the index number and date of filing); Verified
Complaint and Notice Regarding Availability of Commencement of Electronic Filin
Supreme Court Cases upon Richard Xia c/o Racanelli Construction Group, Inc. at 136-20
38th Avenue, Suite 10-F, Flushing, New York 11354-4263 by personally delivering and
leaving the same with Sara Pan, who is a person of suitable age and discretion, at that address,
the actual place of business of the defendant. At the time of service deponent asked whether
the defendant is in active military service for the United States or for the State in any capacity
whatsoever or dependent upon such person and received a negative reply.

Sara Pan is an olive-skinned Asian female, approximately 25-30 years of age, is
approximately 5 feet and 5 inches tall, weighs approximately 110 pounds, with long black hair
and brown eyes.

 

 

(1)
Case 1:15-cv-04279-DLC Document1 Filed 06/03/15 Page 26 of 28

That on the 19th day of May, 2015 deponent served another copy of the foregoing upon
the defendant by enclosing a true copy thereof in a securely sealed and postpaid wrapper with
the words "PERSONAL and CONFIDENTIAL" written on the same, and not indicating on the
outside that it is from an attorney or concerns a legal matter, and depositing the same into an
official depository maintained by the Government of the United States, City and State of New
York, addressed as follows:

Richard Xia

c/o Racanelli Construction Group, Inc.
136-20 38th Avenue, Suite 10-F
Flushing, New York 11354-4263

   

Sworn to before me this
19th day of May, 2015

Pauegr pl—

NEIL P. PEDERSEN

Notary Public, State of New York

No. 01-PE-6236258

Qualified in New York County
Commission Expires February 28, 2019

 

CHAEL KEATING #848345

 

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Case 1:15-cv-04279-DLC Document1 Filed 06/03/15 Page 27 of 28

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RACANELLI CONSTRUCTION CO., INC.,

Plaintiff,
AFFIRMATION OF SERVICE
- against -

RACANELLI CONSTRUCTION GROUP, INC.
and RICHARD XIA,
Defendants.

 

I, Michael J. Kapin, declare under penalty of perjury that on this day, I have served a copy of the
attached Notice of Removal upon Joseph P. Asselta, Esq., Attorney for Plaintiff, whose address
is 333 Earle Ovington Bivd., Suite 1010, Uniondale, New York 11553, by first class mail postage
prepaid deposited in the care and custody of the United States Postal Service.

Affirmed: June 3, 2015 ; J A (/ “4 f4—
// i fy -

New York, New York /
MICHAEL J. KAPIN, ESQ.

 
 

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SOUTHERN DRFRRIGE OP WEY FORK Document 1 Filed ogipa/15 Page 28 of 28

RACANELLI CONSTRUCTION CO., INC.,

Plaintiff,
- against -

RACANELLI CONSTRUCTION GROUP, INC. and RICHARD XIA,

Defendants.
Leese
NOTICE OF REMOVAL

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MICHAEL J. KAPIN, P.C.
Attorneys for Defendants A
305 Broadway, Suite 1004
New York, New York 10007
(212) 513-0500
Fax (866) 575-5019

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